Case 18-11040-whd          Doc 28      Filed 05/14/20 Entered 05/14/20 13:11:24                Desc Main
                                      Document      Page 1 of 21


                          IN THE UNITED STATES BANKRUPTCY COURT
                               NORTHERN DISTRICT OF GEORGIA
                                      NEWNAN DIVISION

IN RE:                                                :    CHAPTER 13
                                                      :
SCOTT WAYNE SUMMEY,                                   :    CASE NO. 18-11040-WHD
                                                      :
         Debtor.                                      :
                                                      :
                                                      :
LAKEVIEW LOAN SERVICING LLC,                          :    CONTESTED MATTER
                                                      :
         Movant.                                      :
                                                      :
vs.                                                   :
SCOTT WAYNE SUMMEY,
                                                      :
MELISSA J. DAVEY, Trustee
                                                      :
         Respondents.                                 :
                                                      :

              NOTICE OF MOTION FOR RELIEF FROM AUTOMATIC STAY


         Movant has filed documents with the court to obtain relief from the automatic stay.

         YOUR RIGHTS MAY BE AFFECTED. You should read these documents carefully and
         discuss them with your attorney, if you have one in this bankruptcy case. If you do not have
         an attorney, you may wish to consult one.

         If you do not want the court to grant relief from the automatic stay or if you want the court to
         consider your views on the motion, then you or your attorney shall attend the hearing scheduled
         to be held on

         June 11, 2020 at 9:00 am at the United States Bankruptcy Court, Lewis R. Morgan
         Federal Building, 18 Greenville Street, Courtroom 2nd Floor, Newnan, Georgia 30263.
         Given the current public health crisis, hearings may be telephonic only. Please check the
         “Important Information Regarding Court Operations During COVID-19 Outbreak” tab
         at the top of the GANB Website prior to the hearing for instructions on whether to
         appear in person or by phone.

         If you or your attorney does not take these steps, the court may decide that you do not oppose the
         relief sought in the motion and may enter an order granting relief.

         You may also file a written response to the pleading with the Clerk at the address stated below,
         but you are not required to do so. If you file a written response, you must attach a certificate
         stating when, how and on whom (including addresses) you served the response. Send your
         response so that it is received by the Clerk at least two business days before the hearing.
Case 18-11040-whd       Doc 28     Filed 05/14/20 Entered 05/14/20 13:11:24              Desc Main
                                  Document      Page 2 of 21


      If a hearing on the motion for relief from the automatic stay cannot be held within thirty (30)
      days, Movant waives the requirement for holding a preliminary hearing within thirty days of
      filing the motion and agrees to a hearing on the earliest possible date. Movant consents to the
      automatic stay remaining in effect until the Court orders otherwise.

      The address of the Clerk's Office is: Clerk, 18 Greenville Street, 2nd Floor, Newnan, Georgia
      30263. You must also send a copy of your response to the undersigned at the address stated
      below.


      Dated this:   5/14/2020



                                               /s/ Michael J. McCormick
                                               Michael J. McCormick, GA BAR NO.
                                               485749
                                               Attorney for Movant
                                               McCalla Raymer Leibert Pierce, LLC
                                               1544 Old Alabama Road
                                               Roswell, Georgia 30076
                                               678-281-3918
                                               Michael.McCormick@mccalla.com
Case 18-11040-whd         Doc 28     Filed 05/14/20 Entered 05/14/20 13:11:24         Desc Main
                                    Document      Page 3 of 21


                        IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE NORTHERN DISTRICT OF GEORGIA
                                    NEWNAN DIVISION

IN RE:                                              ) CHAPTER 13
                                                    )
SCOTT WAYNE SUMMEY,                                 ) CASE NO. 18-11040-WHD
                                                    )
         Debtor.                                    )
                                                    )
                                                    )
LAKEVIEW LOAN SERVICING LLC,                        ) CONTESTED MATTER
                                                    )
         Movant.                                    )
                                                    )
vs.                                                 )
                                                    )
SCOTT WAYNE SUMMEY,                                 )
MELISSA J. DAVEY, Trustee                           )
                                                    )
         Respondents.                               )


                   MOTION FOR RELIEF FROM THE AUTOMATIC STAY

         COMES NOW Movant and shows this Court the following:

                                                  1.

         This is a Motion under Section 362(d) of the Bankruptcy Code for relief from the

automatic stay for all purposes allowed by law and the contract between the parties, including,

but not limited to, the right to foreclose on certain real property.

                                                  2.

         Movant is the servicer of a loan secured by certain real property in which Debtor claims

an interest. Said real property is security for a promissory note, and is commonly known as 391

Mill Pond Xing Apt A2, Carrollton, Georgia 30116-7591 (the “Property”).
Case 18-11040-whd        Doc 28    Filed 05/14/20 Entered 05/14/20 13:11:24            Desc Main
                                  Document      Page 4 of 21


                                                3.

        Lakeview Loan Servicing LLC services the loan on the Property referenced in this

Motion. In the event the automatic stay in this case is modified, this case dismisses, and/or the

Debtor obtains a discharge and a foreclosure action is commenced on the mortgaged property,

the foreclosure will be conducted in the name of Lakeview Loan Servicing LLC. Movant,

directly or through an agent, has possession of the Note. The Note is either made payable to

Movant or has been duly endorsed.

                                                4.

        Debtor has defaulted in making payments which have come due since this case was filed.

As of May 12, 2020, Debtor is delinquent for three (3) payments (March, 2020 – May, 2020) in

the amount of $902.33 each, less a suspense balance of 310.44, pursuant to the terms of the Note.

The total amount of missed post-petition arrearage is $2,396.55. In addition, Movant has also

incurred post-petition Attorney Fees and Bankruptcy/Proof of Claim fees of $650.00, as

disclosed on the Notice of Post-petition Mortgage Fees, Expenses, and Charges filed on July 16,

2018.

                                                5.

        As of May 12, 2020, the unpaid principal balance is $100,701.94, and interest is due

thereon in accordance with the Note.

                                                6.

        Because of Debtor's default and clear inability to make all required payments, Movant is

not adequately protected and shows that there is cause for relief from the automatic stay.
Case 18-11040-whd         Doc 28     Filed 05/14/20 Entered 05/14/20 13:11:24           Desc Main
                                    Document      Page 5 of 21


                                                  7.

       Because the Security Deed so provides, Movant is entitled to its attorney's fees.

                                                  8.

       Movant requests it be permitted to contact the Debtor via telephone or written

correspondence regarding potential loss mitigation options pursuant to applicable non-

bankruptcy law, including loan modifications, deeds in lieu of foreclosure, short sales and/or any

other potential loan workouts or loss mitigation agreements.

       WHEREFORE, Movant prays (1) for an Order modifying the automatic stay, authorizing

Movant, its successors and assigns, to proceed with the exercise of its private power of sale and

to foreclose under its Security Deed and appropriate state statutes; (2) for an award of reasonable

attorney’s fees; (3) that Movant, at its option, be permitted to contact the Debtor via telephone or

written correspondence regarding potential loss mitigation options pursuant to applicable non-

bankruptcy law, including loan modifications, deeds in lieu of foreclosure, short sales and/or any

other potential loan workouts or loss mitigation agreements; (4) for waiver of Bankruptcy Rule

4001 (a)(3); and (5) for such other and further relief as is just and equitable.


                                               /s/ Michael J. McCormick
                                               Michael J. McCormick, Georgia BAR NO.
                                               485749
                                               Attorney for Movant
                                               McCalla Raymer Leibert Pierce, LLC
                                               1544 Old Alabama Road
                                               Roswell, Georgia 30076
                                               678-281-3918
                                               866-894-4211
                                               Michael.McCormick@mccalla.com
Case 18-11040-whd       Doc 28     Filed 05/14/20 Entered 05/14/20 13:11:24           Desc Main
                                  Document      Page 6 of 21


                                             BANKRUPTCY CASE NO. 18-11040-WHD

                                             CHAPTER 13

                                  CERTIFICATE OF SERVICE

      I, Michael J. McCormick, of McCalla Raymer Leibert Pierce, LLC, 1544 Old Alabama Road,
Roswell, Georgia 30076-2102, certify:

        That on the date below, I served a copy of the within NOTICE OF ASSIGNMENT OF
HEARING, together with the MOTION FOR RELIEF FROM THE AUTOMATIC STAY and
DECLARATION IN SUPPORT OF THE MOTION FOR RELIEF FROM AUTOMATIC STAY
filed in this bankruptcy matter on the following parties at the addresses shown, by regular United
States Mail, postage prepaid, unless another manner of service is expressly indicated:

Scott Wayne Summey
391 Mill Pond Xing Unit A2
Carrollton, GA 30116

Howard P. Slomka                             (served via ECF notification)
Slipakoff & Slomka, PC
Suite 2100
3350 Riverwood Parkway
Atlanta, GA 30339

Melissa J. Davey, Trustee                    (served via ECF notification)
Melissa J. Davey, Standing Ch 13 Trustee Suite 200
260 Peachtree Street, NW
Atlanta, GA 30303

I CERTIFY UNDER PENALTY OF PERJURY THAT THE FOREGOING IS TRUE AND
CORRECT.

Executed on:    5/14/2020        By:      /s/ Michael J. McCormick
                     (date)              Michael J. McCormick Georgia BAR NO. 485749
                                         Attorney for Movant
Case 18-11040-whd   Doc 28    Filed 05/14/20 Entered 05/14/20 13:11:24   Desc Main
                             Document      Page 7 of 21
Case 18-11040-whd   Doc 28    Filed 05/14/20 Entered 05/14/20 13:11:24   Desc Main
                             Document      Page 8 of 21
Case 18-11040-whd   Doc 28    Filed 05/14/20 Entered 05/14/20 13:11:24   Desc Main
                             Document      Page 9 of 21
Case 18-11040-whd   Doc 28    Filed 05/14/20 Entered 05/14/20 13:11:24   Desc Main
                             Document     Page 10 of 21
Case 18-11040-whd   Doc 28    Filed 05/14/20 Entered 05/14/20 13:11:24   Desc Main
                             Document     Page 11 of 21
Case 18-11040-whd   Doc 28    Filed 05/14/20 Entered 05/14/20 13:11:24   Desc Main
                             Document     Page 12 of 21
Case 18-11040-whd   Doc 28    Filed 05/14/20 Entered 05/14/20 13:11:24   Desc Main
                             Document     Page 13 of 21
Case 18-11040-whd   Doc 28    Filed 05/14/20 Entered 05/14/20 13:11:24   Desc Main
                             Document     Page 14 of 21
Case 18-11040-whd   Doc 28    Filed 05/14/20 Entered 05/14/20 13:11:24   Desc Main
                             Document     Page 15 of 21
Case 18-11040-whd   Doc 28    Filed 05/14/20 Entered 05/14/20 13:11:24   Desc Main
                             Document     Page 16 of 21
Case 18-11040-whd   Doc 28    Filed 05/14/20 Entered 05/14/20 13:11:24   Desc Main
                             Document     Page 17 of 21
Case 18-11040-whd   Doc 28    Filed 05/14/20 Entered 05/14/20 13:11:24   Desc Main
                             Document     Page 18 of 21
Case 18-11040-whd   Doc 28    Filed 05/14/20 Entered 05/14/20 13:11:24   Desc Main
                             Document     Page 19 of 21
Case 18-11040-whd   Doc 28    Filed 05/14/20 Entered 05/14/20 13:11:24   Desc Main
                             Document     Page 20 of 21
Case 18-11040-whd   Doc 28    Filed 05/14/20 Entered 05/14/20 13:11:24   Desc Main
                             Document     Page 21 of 21
